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                         DECLARATION OF

I,                        , declare:

     1.    My name is                       and I am a national of Venezuela. I am a 32-year-old
           man. I am currently detained by ICE at the El Valle Detention Facility in Raymondville,
           Texas.

     2.    I entered the United States around May 3, 2023.

     3.    I filed for asylum from Venezuela because of my political views and my fear of harm and
           mistreatment from multiple criminal groups, including the Tren de Aragua gang.

     4.    At my asylum interview on February 27, 2025, I was arrested and interrogated by ICE.

     5.    When ICE officers entered my asylum interview, they asked me about the Tren de
           Aragua gang. I am not and was not a member of the Tren de Aragua gang. I was
           victimized by that group, which is one of the reasons I cannot return to Venezuela.

     6.    ICE first detained me at the Moshannon Valley Processing Center in Pennsylvania.

     7.    Then, on approximately March 9, 2025, I was transferred with a group of other
           Venezuelans to El Valle Detention Center in Texas.

     8.    I was assigned a free lawyer, Melissa Smyth, from Brooklyn Defender Services. My
           attorney explained that she could represent me in my asylum case before the Elizabeth
           Immigration Court in New Jersey.

     9.    I have an immigration court Master Calendar Hearing scheduled for March 19, 2025.

     10.   On March 14, 2025, I was told that I was being moved in preparation for a later flight
           with a group of other Venezuelans. I was not told where we were going. We were then
           told that there was a problem and they returned us to detention at El Valle.

     11.   We are now being told we will be put on a plane on Saturday, March 15th or Sunday,
           March 16th.

     12.   Being sent away and deported would be terrible. I need to be able to speak with my
           attorney to prepare for my court appearances. Also, I was receiving important medical
           treatment in New York, and I am afraid I will become terribly sick if I do not have access
           to the proper medical care. I have already missed multiple days of my daily medication
           when I was initially detained by ICE and again when I was transferred to El Valle.




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 13.   I am terrified to be deported to Venezuela, where I fear I would be seriously harmed or
       killed.

 14.   I swear under penalty of perjury that the forgoing declaration was read back to me in
       Spanish, and that it is true and correct to the best of my knowledge and recollection.



I, Melissa Smyth, swear under penalty of perjury that I am fluent in the English and Spanish
languages, that I read the forgoing declaration to                     in Spanish, and that he
agreed with its contents.




_______________________                                     03/14/2025

Name: Melissa Smyth




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